     Case 5:18-cr-00258-EJD Document 1476-1 Filed 06/07/22 Page 1 of 3



 1

 2                                   UNITED STATES DISTRICT COURT

 3                             NORTHERN DISTRICT OF CALIFORNIA

 4                                        SAN JOSE DIVISION
 5

 6    UNITED STATES OF AMERICA,                        Case No. CR-18-00258-EJD
 7                      Plaintiff,
 8           v.                                        VERDICT FORM
 9    RAMESH “SUNNY” BALWANI,
10                      Defendant.
11

12

13

14          We, the members of the Jury in the above-entitled case, unanimously find the defendant,
15   Ramesh “Sunny” Balwani:
16
            1. __________________________________ [NOT GUILTY / GUILTY] of the charge of
17
     Conspiracy to Commit Wire Fraud against Theranos investors in violation of 18 U.S.C. § 1349,
18
     as charged in Count One of the indictment.
19
20          2. __________________________________ [NOT GUILTY / GUILTY] of the charge of
21   Conspiracy to Commit Wire Fraud against Theranos paying patients in violation of 18 U.S.C.
22   § 1349, as charged in Count Two of the indictment.
23
            3. __________________________________ [NOT GUILTY / GUILTY] of the charge of
24
     Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a
25
     wire transfer of $99,990 on or about December 30, 2013, as charged in Count Three of the
26
     indictment.
27

28

                                                                                            VERDICT FORM
                                                                                          CR-18-00258 EJD
     Case 5:18-cr-00258-EJD Document 1476-1 Filed 06/07/22 Page 2 of 3



 1          4. __________________________________ [NOT GUILTY / GUILTY] of the charge of

 2   Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a

 3   wire transfer of $5,349,900 on or about December 31, 2013, as charged in Count Four of the

 4   indictment.

 5
            5. __________________________________ [NOT GUILTY / GUILTY] of the charge of
 6
     Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a
 7
     wire transfer of $4,875,000 on or about December 31, 2013, as charged in Count Five of the
 8
     indictment.
 9
10          6. __________________________________ [NOT GUILTY / GUILTY] of the charge of

11   Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a

12   wire transfer of $38,336,632 on or about February 6, 2014, as charged in Count Six of the

13   indictment.

14
            7. __________________________________ [NOT GUILTY / GUILTY] of the charge of
15
     Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a
16
     wire transfer of $99,999,984 on or about October 31, 2014, as charged in Count Seven of the
17
     indictment.
18

19          8. __________________________________ [NOT GUILTY / GUILTY] of the charge of
20   Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a

21   wire transfer of $5,999,997 on or about October 31, 2014, as charged in Count Eight of the

22   indictment.

23
            9. __________________________________ [NOT GUILTY / GUILTY] of the charge of
24
     Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection with a
25
     wire transmission involving a telephone call about Patient B.B.’s laboratory blood test results on
26
     or about October 12, 2015, as charged in Count Nine of the indictment.
27

28

                                                                                              VERDICT FORM
                                                    -2-                                     CR-18-00258 EJD
     Case 5:18-cr-00258-EJD Document 1476-1 Filed 06/07/22 Page 3 of 3



 1          10. __________________________________ [NOT GUILTY / GUILTY] of the charge

 2   of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in connection

 3   with a wire transmission of Patient E.T.’s laboratory blood test results on or about May 11, 2015,

 4   as charged in Count Ten of the indictment.

 5
            11. __________________________________ [NOT GUILTY / GUILTY] of the charge
 6
     of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in connection
 7
     with a wire transmission of Patient M.E.’s laboratory blood test results on or about May 16,
 8
     2015, as charged in Count Eleven of the indictment.
 9
10          12. __________________________________ [NOT GUILTY / GUILTY] of the charge

11   of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in connection

12   with a wire transfer of $1,126,661.00 on or about August 3, 2015, as charged in Count Twelve of

13   the indictment.

14

15   Dated: June 7, 2022

16

17
                                                           Jury Foreperson
18

19
20

21

22

23

24

25

26

27

28

                                                                                             VERDICT FORM
                                                    -3-                                    CR-18-00258 EJD
